Case 1:14-ml-02570-RLY-TAB Document 19837 Filed 09/03/21 Page 1 of 2 PageID #:
                                 123259

                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

_________________________________________

In Re: COOK MEDICAL, INC., IVC FILTERS
MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570
_________________________________________

This Document Relates to:

1:21-cv-06375           1:21-cv-06535
1:21-cv-06500           1:21-cv-06536
1:21-cv-06527           1:21-cv-06537
1:21-cv-06529           1:21-cv-06538
1:21-cv-06530           1:21-cv-06551
1:21-cv-06531           1:21-cv-06557
1:21-cv-06534



                                 APPEARANCE OF COUNSEL

To: The Clerk of Court and all parties of record:

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case
as counsel for:

         Cook Medical LLC (which is alleged in some cases to be also known as “Cook
         Medical, Inc.”);
         Cook Incorporated (which is alleged in some cases to be doing business as “Cook
         Medical”); and
         William Cook Europe ApS

Dated:            September 3, 2021          /s/ Kip S. M. McDonald
                                             Andrea Roberts Pierson (# 18435-49)
                                             Kip S. M. McDonald (# 29370-49)
                                             FAEGRE DRINKER BIDDLE & REATH LLP
                                             300 North Meridian Street, Suite 2500
                                             Indianapolis, Indiana 46204
                                             Telephone: (317) 237-0300
                                             Facsimile: (317) 237-1000
                                             E-Mail: andrea.pierson@faegredrinker.com
                                             E-Mail: kip.mcdonald@faegredrinker.com




US.120263840.01
Case 1:14-ml-02570-RLY-TAB Document 19837 Filed 09/03/21 Page 2 of 2 PageID #:
                                 123260

                                 CERTIFICATE OF SERVICE

         I hereby certify that on September 3, 2021, I electronically filed the foregoing document

with the Clerk of the Court using the CM/ECF system which will send notification of such filing

to the CM/ECF participants registered to receive service in this MDL.


                                                      /s/ Kip S. M. McDonald




                                                 2
US.120263840.01
